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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 vs.                                                    CASE NO: 2:16-cr-81-FtM-38CM

 BROWN LASTER, JR.


                                 OPINION AND ORDER1

       This matter comes before the Court on Brown Laster, Jr.’s (“Laster”) Renewed

 Motion for Bond (Doc. 234) filed on June 21, 2017. The Government filed a Response in

 Opposition (Doc. 244) on June 26, 2017. This matter is ripe for review.

                                     BACKGROUND

       Laster was indicted and arrested for conspiracy to possess with intent to distribute

 and to distribute methamphetamine. (Docs. 3; 16). After a detention hearing, Magistrate

 Judge Mirando ordered Laster detained without prejudice based on the “Pretrial Services

 Report, proffers and arguments of counsel, and the findings and analysis of the matters

 enumerated in 18 U.S.C. § 3142(g) and § 3142(e)(3).” (Doc. 27). Thereafter, Laster

 renewed his motion for bond and the Government opposed. (Docs. 86; 101). Laster’s

 renewed motion for bond was denied without prejudice after his prior counsel withdrew.

 (Doc. 109). Laster, after obtaining new counsel, supplemented his renewed motion for


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 bond. (Doc. 114). Laster’s supplemental motion was denied, in part, because he failed

 to raise new information not known to him at the time of the original detention hearing.

 (Doc. 115). The order also noted that Laster was detained “based on factors other than

 the weight of the evidence against him,” and he failed to present new evidence that had

 a material bearing on the other factors. (Doc. 115).

        Now, Laster moves this Court to reconsider the previous order denying him bond.

 (Doc. 234). He argues that circumstances have materially changed because a jury could

 not reach a guilty verdict after his trial, and therefore the evidence is weak. (Doc. 234 at

 1-2). The Government opposes Laster’s Motion and argues that he failed to raise

 information not known to him at the time of hearing. (Doc. 244 at 1). Further, the

 Government states that Laster is a danger to the community and cooperating witnesses.

 (Doc. 244 at 2).

                                       DISCUSSION

        Section 3142(f) allows a hearing to be reopened if “information exists that was not

 known to the movant at the time of the hearing and has a material bearing on the issue

 whether there are conditions of release that will reasonable assure the appearance of

 such person as required and the safety of any other person and the community.” 18

 U.S.C. § 3142(f). Here, Laster relies on the jury’s inability to return a guilty verdict as

 confirmation that the evidence is weak. (Doc. 234). But, simply because a jury fails to

 return a verdict does not automatically dictate the measure of a case. A blanket statement

 that the Government’s evidence against Laster is weak is not enough, and Laster fails to

 present or identify evidence that was not known at the time of the detention hearing.




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       Laster also argues that his presumption of innocence has become a significant

 factor that must be considered by the Court. (Doc. 234 at 2). Contrary to Laster’s

 position, the presumption of innocence is not a factor a court must take into account when

 determining whether there are conditions of release that will reasonable assure the

 appearance of the person required and the safety of any other person and the community.

 See 18 U.S.C. § 3142(g). Accordingly, the Court denies his Renewed Motion for Bond.

       Accordingly, it is now

       ORDERED:

       Defendant Brown Laster, Jr.’s Renewed Motion for Bond (Doc. 234) is DENIED.

       DONE AND ORDERED at Fort Myers, Florida, this July 11, 2017.




 Copies: Counsel of Record




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